Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 1 of 15

CHRIST T. TROUPIS

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Boise, Idaho 83701

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Fax: (208) 336-4494

Email: jesution@jesution.com

Attorneys for Plaintiff Idaho Republican Party
IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,

Plaintiffs, Case No. 1:08-CV-00165-BLW

VS. AFFIDAVIT OF

GREGG VANCE
BEN YSURSA, In his Official Capacity as
Secretary of State of the State of idaho,

Defendant.

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Gregg Vance, being first duly sworn, deposes on oath and states:
1. lamnot a party to this lawsuit. Each of the matters stated herein are known to
me of my personal knowledge and if sworn as a witness, | could testify

competently thereto.

Affidavit of Gregg Vance 1
Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 2 of 15

2. In 2004, | ran for the Idaho State Senate in the District 6 Republican Primary
against Gary Schroeder.

3. Early in the campaign we had a discussion with my campaign manager about the
likelinood of the Democrats getting involved by encouraging cross over voting.

4. The general consensus was that the Democrats would stay home over the local
candidate issue of County Commissioner. That was one of the reasons | felt
more comfortable running that year.

5. A few weeks prior to the primary, multiple liberal blogs, especially liberal blog
“Vision2020” featured forum posts of those publicly declaring that they would
“cross over vote” in order to not lose Gary Shroeder. Attached hereto as Exhibit
A are true and accurate copies of those liberal blogs. (see

nito://mailman.fsr.corm/pipermail/vision2020/2004-May/009467 html ,

hito://mailman.isr.com/pipermail/vision2020/2004-May/009447.himi ,

hito://maiiman.tsr.com/pipermaill/vision2020/2004-May/009416 himi

6. There was a Pro-Schroeder ad run in the local paper the day before the Primary
specifically “calling all independents’ to go to the primary, urging people to do
“whatever you can to assure that Vance does not win’.

7. [never made it a point to acknowledge cross over voting in any speeches or
commentaries, however we were aware of its likelihood.

8. Had | fully understood the impact the education voters would have, | would have
addressed them and their concerns. | didn’t, however, think that should have

been a Primary issue as our platform stance was clear.

Affidavit of Gregg Vance 2
Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 3 of 15

9. We had to petition for money from outside the county, because we knew that we
could not compete solely on funds we could raise within our county. We were
facing outside money being put up against us in the primary election by the both
the Democrats and the IEA educators who supported Gary Schroeder, the other
“Republican” candidate.

10. We underestimated the impact that democrat spending on this race would have
on our campaign by their influence on non-republican voters.

11.By the time we realized how our message, which was tailored to Republicans for
a Republican primary, was falling to activated Democrat ears, we could not
respond fast enough to counteract it.

12. We had anticipated possibly only 10 to 20 cross over voters, but not 100’s to
1000. However, that is the number we believe voted in my primary election for
my opponent due to the 1,068 “None of the above” votes cast on the
Bush/Presidential vote.

13. The current open primary system is akin to the Ford Board of Directors voting at
a GM board meeting. Nothing like this would be allowed in the private sector.

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Affidavit of Gregg Vance 3
Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 4 of 15

14. The premise that people will be ethical and stay within their party lines in an open
primary system is simply not valid in the political landscape of today.

FURTHER, AFFIANT SAYETH NOT.

Gregg Vance

State of Idaho )
) ss,
County of Adabatair  )

Subscribed and sworn to before me, a Notary Public in and for the State of Idaho
on this 14 day of January, 2010.

oer Rete

TRACY RENFROW. Notary Puble)

NOTARY PUBLIC > My commission expires: |i )i'S
¢ Residing At: -XLOI SDK,

Affidavit of Gregg Vance 4
Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 5 of 15

CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on this 19"" day of January, 2010, | served a copy of

the foregoing Affidavit of Gregg Vance by email transmission, addressed to the
following persons:

Gary Allen

Givens Pursley

P.O. Box 2720

Boise, Idaho 83701-2720
garvyallen@givenspursley.com

Harry Kresky

LAW OFFICE OF HARRY KRESKY
250 W. 57'" Street, Ste 2017

New York, NY 10107
harrykresky@aol.com

Michael S. Gilmore

Karin D. Jones

Deputy Attorneys General

Civil Litigation Division

Office of the Attorney General

954 W. Jefferson Street, Second Level
P.O. Box 83720

Boise, |D 83720-0010
mike.gilmore@ag.idaho.gov
karin.jones@ag.idaho.gov

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Affidavit of Gregg Vance 5
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Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 6 of 15

[Vision2020] Voter turn out

Tom Hansen thansen(@moscow.com
Mon, 24 May 2004 05:56:22 -0700

e Previous message: [Vision2020] Voter turn out
e Next message: [Vision2020] Voter turn out
e Messages sorted by: [ date ] [ thread | [ subject ] [ author ]

Greetings Visionaires -

Upon reading the Sunday Spokesman Review I realize that crossing party~lines
to vote in a Republican primary is not unethical at all. ‘

As quoted in the following article (copied and pasted below in its entirity)
from the May 23, 2004 edition of the Spokesman Review:

"Tn an e-mail, Democrat Kristy Reed Johnson of Post Falls expressed her
frustration: “What's a Democrat to do? Some Democrats would rather be struck
by lightening than vote for any Republican.” She encourages fellow Democrats
outside of District 4 (Coeur d'Alene), which has a Democratic primary, “to
exercise their right to select their elected officials.” However, she also
urges them to vote only in winner-take-all races and to leave the Republican
ballot blank where Democrats have fielded candidates.”

As there is no clear Democrat contender for Schroeder's office, and further
realizing that the winner of the Republican primary is virtually a
"winner-take-all", I am voting in the Republican primary tomorrow to
exercise my right to select my elected official. ‘And that, Mr. Arnold, is
guaranteed in writing.

Don't wait for the movie. Read the book. It is call the Constitution of
the United States of America.

See you at the polis,

Tom Hansen
Not On The Palouse, Not Ever

Key races will be decided Tuesday
Our View: Election Endorsement
Related stories

A debate is raging within the thin ranks of the Kootenai County Democratic
Party.

Democratic partisans wonder if it's ethical to vote in Republican primaries
where the winner automatically will become an office holder next year
because no Democrat, Independent or third-party candidate is running. Only
Republicans seek the two seats on the county commission and the three
legislative seats in District 3.

In an e-mail, Democrat Kristy Reed Johnson of Post Falls expressed her

Exhibit A
http://mailman.fsr.com/pipermail/vision2020/2004-May/009467.html 1/12/2010
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Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 7 of 15

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by lightening than vote for any Republican.” She encourages fellow Democrats
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exercise their right to select their elected officials.” However, she also
urges them to vote only in winner-take-all races and to leave the Republican
ballot blank where Democrats have fielded candidates.

We're not constrained by partisan politics as Johnson is. We could make a
good argument for Democrats in the Coeur d'Alene area also to cross over to
the Republican side to decide who will represent them in the county
courthouse. In day-to-day operations, the commissioners’ office has more of
an impact on the lives of Kootenai County residents than any single
legislator. Johnson, however, has done Kootenai County voters a service by
bringing this matter to light. Voters on both sides of the political divide
should be aware that their only chance to vote in the races for commissioner
and District 3 legislators will be Tuesday.

Since these and other Kootenai County primary races are so important, we are
repeating our list of endorsements:

*Kootenai County Commissioner: Incumbents Dick Panabaker and Rick Currie
have done a solid job and deserve another term.

*Senate District 3: Challenger Mike Jorgenson, a Hayden Lake councilman, is
energetic, knowledgeable and not afraid to take a stand in a three-way race

that features and an incumbent and a former state senator with spotty voting
records.

*House District 3: Jim Clark and Wayne Meyer are veteran incumbents who have
accumulated clout and baggage - and are light years ahead of their
challengers in experience.

*House District 4: Republican Marge Chadderdon and Democrat Mike Gridley are
the strongest candidates to meet in November's general election. If elected,
Gridley will make the impact in Boise that incumbent Bonnie Douglas has not.

*House District 5: Bob Nonini and Frank Henderson are pro-business
candidates in the mold of retiring state Rep. Hilde Kellogg, R-Post Falls.>

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e Previous message: [Vision2020] Voter turn out
e Next message: [Vision2020] Voter turn out
e Messages sorted by: [ date | [ thread | [ subject ] [ author |

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Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 8 of 15

[Vision2020] Support Gary Schroeder

Tom Hansen thansen(@moscow.com
Sat, 22 May 2004 06:36:05 -0700

e Previous message: [Vision2020] 05-22-04 Washington Post: Punishment and Amusement
e Next message: [Vision2020] Alternative: Patricia Scott (was Support Gary Schroeder)
e Messages sorted by: [ date | [ thread | [ subject ] [ author |

Greetings Visionaires -

I, like Joan Opyr, have decided to cross party lines and vote in the
Republican primary on Tuesday. I will not be voting "against" Vance as much
as I will be voting "for" Gary Schroeder.

Gary Schroeder is a strong voice in Boise and he truly represents his
constituency here in Moscow (and not those in Caldwell). At a time when UI
needs support at the capital, Schroeder is not afraid to "bump heads” with
those that would prefer putting UI into the past tense.

IT will be voting for Schroeder not only in the primary, but (if opposed) in
the general election as well.

Vote Schroeder,

Tom Hansen
UI '96
Moscow, Idaho

"Fach time a man stands up for an ideal, or acts to improve the lot of
others, or strikes out against injustice, he sends forth a tiny ripple of
hope."

Robert F. Kennedy
(1925-1968, American Attorney General, Senator)

e Previous message: [Vision2020] 05-22-04 Washington Post: Punishment and Amusement
e Next message: [Vision2020] Alternative: Patricia Scott (was Support Gary Schroeder)
e Messages sorted by: [ date | [ thread | | subject ] [ author ]

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[Vision2020] Senator Schroeder

Joan Opyr auntiestablishment@hotmail.com
Thu, 20 May 2004 16:07:30 -0700

e Previous message: [Vision2020] It is a matter of trust?
e Next message: [Vision2020] Senator Schroeder
e Messages sorted by: [ date ] [ thread ] | subject ] [ author |

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Dear Visionaries:

Several people on this list have reported that they've received bogus pol=
itical polling calls that are merely anti-Schroeder ads in disguise. Thi=
s is a disgraceful tactic, but it isn't new. I'm sorry to report that pu=
sh-polling has been used for years (and with some success) in many places=
I've lived. It's a favorite technique of the candidate with the unsavor=
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ow and like, in this case Gary Schroeder, by sowing doubt and distrust. =
The idea isn't so much to get Schroeder's supporters to switch to Gregg V=
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ind of like chatter at a baseball game: it's a diversion. Hey, batter, b=
atter, swing! Ah, ha, you missed. =20

I'm disgusted by it. It makes me sick. And so, on May 25th, I intend to=

cross party lines and vote in the Republican primary. I'd like to poke =
a finger in Gregg Vance's eye, but I am doing this first and foremost to
support Gary Schroeder. I respect the Senator's integrity, I admire his
tireless work in support of public education and the University of Idaho,=
and I think that he is invaluable as chair of the Senate Education Commi=
ttee. If we lose Gary Schroeder, we lose more than just an able represen=
tative; we lose Latah County's most powerful voice in Boise. =20

Of course, I hesitate to mention my support for Senator Schroeder on this=

list. As I'm a notorious Liberal/Progressive, not to mention a died-in-=
the-wool Democrat, I do fear doing him more harm than good. Gary Schroed=
er, however, is no lefty; there are a raft of issues on which we are not =
in accord, but I have found him to be responsive to his constituents, gen=
uinely concerned about the people of this county, and, most important of =
all, an honest broker. =20

Gregg Vance might be responsive and he might be concerned, but his campai=
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e is unfit for public office. I've taken the time to familiarize myself =
with Mr. Vance's stances on a host of issues, and I firmly believe that h=
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that Democrats and Republicans alike will unite to ensure that the best =
man continues to represent us in Boise, and Gregg Vance continues to enjo=
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Joan Opyr/Auntie EstablishmentGet more from the Web. FREE MSN Explorer d=
ownload : http://explorer.msn.com

http://mailman.fsr.com/pipermail/vision2020/2004-May/009416.html

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Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 10 of 15

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e Previous message: [Vision2020] It is a matter of trust?
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Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 11 of 15

[Vision2020] Senator Schroeder

Mark and Julie Miller mjmiller@moscow.com
Thu, 20 May 2004 19:30:33 -0700

e Previous message: [Vision2020] Senator Schroeder
e Next message: [Vision2020] Senator Schroeder
e Messages sorted by: [ date ] [ thread ] [ subject ] [ author |

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Joan,

Very well said. I'm also a die hard democrat, but I can see what could =
happen to me and the others in this community who work at the UI if Mr.
Vance wins this primary and, further down the road, a seat in the State
Senate. Things aren't good now financially at the UI, but God only =
knows what would happen with more voices like his in the Legislature. =
Idaho public education has a great spokesman in the way of Gary =
Schroeder and his role as Chairman of the Senate Education Committee =
does give us "northerners" a little bit of a voice down south. =20

I'm crossing party lines next Tuesday and casting my vote for Schroeder. =
Thanks.

Mark Miiler=20
--Ar- Original Message --~---=20
From: Joan Opyr=20
To: Vision2020 Moscow=20
Sent: Thursday, May 20, 2004 4:07 PM
Subject: [Vision2020] Senator Schroeder

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Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 12 of 15

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Joan Opyr/Auntie Establishment

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charset="iso-8859-1"

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<!DOCTYPE HTML PUBLIC "-//W3C//DTD HTML 4.0 Transitional//EN">
<HTML><HEAD>

<META http-equiv=3DContent-Type content=3D"text/html;
charset=3Diso~8859-1">

<META content=3D"MSHTML 6.00.2800.1400" name=3DGENERATOR>

<STYLE></STYLE>

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<BODY=20

style=3D"BORDER-RIGHT: medium none; BORDER-TOP: medium none; FONT: 10pt =
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Case 1:08-cv-00165-BLW Document 61-16 Filed 09/29/10 Page 13 of 15

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style=3D"BACKGROUND: #e4e4e4; FONT: 10pt arial; font-color: =
black"><B>From: </B>=20

<A title=3Dauntiestablishment@hotmail.com=20

href=3D"mailto:auntiestablishment@hotmail.com">Joan Opyr</A> </DIV>

<DIV style=3D"FONT: lOpt arial"><B>To:</B> <A =
title=3Dvision2020@moscow. com=20

href=3D"mailto: vision2020@moscow.com">Vision2020 Moscow</A> </DIV>

<DIV style=3D"FONT: 1lOpt arial"><B>Sent:</B> Thursday, May 20, 2004 =
4:07=20
PM</DIV>

<DIV style=3D"FONT: 10pt arial"><B>Subject:</B> [Vision2020] Senator=20

Schroeder</DIV>

<DIV><BR></DIV>

<DIV>Dear Visionaries:</DIV>

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favorite techniqueénbsp;ofénbsp;the candidate with the unsavory =
agenda. énbsp;=20

It'sénbsp; purposeénbsp;is to tear down a candidate the voters already =
know and=20

like, in this case Gary Schroeder, by&nbsp;sowing doubt and =
distrust. énbsp;=20

The idea isn't&nbsp;so much to&nbsp;get&nbsp; Schroeder's supporters to =
switch=20

to&énbsp;Gregg Vance, &nbsp;but to keep them from showing up&nbsp; to
vote at=20

all.&nbsp; énbsp;Push-polling is kind of like chatter at a baseball
game: it's=20

a diversioné&nbsp; Hey, &nbsp;batter, batter, swing!&nbsp; Ah, ha, you=20

missed. &nbsp; &nbsp; </DIV>

<DIV>&nbsp; </DIV>

<DIV>I'm disgusted by it.&nbsp; It makes me sick.&nbsp; And so, on May =

25th, &nbsp;I intend&nbsp;to cross party lines and vote in the =

http://mailman.fsr.com/pipermail/vision2020/2004-May/009422. html 1/12/2010
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Republican=20

primary.énbsp; I'd like to poke a finger in Gregg Vance's eye, but I =
am doing=20

thisénbsp;first and foremost to&nbsp;support Gary =
Schroeder. énbsp; &nbsp; I=20

respect the Senator's integrity, I&nbsp;admire his tireless work in =
support of=20

public education and the University of Idaho, and I think that he is=20

invaluable as chair of the Senate Education Committee.é&nbsp; If we =
lose Gary=20

Schroeder, we lose more than just an able representative; &nbsp;we=20

lose&nbsp; Latah County's most powerful voice in Boise.&nbsp;énbsp; =
</DIV>

<DIV>é&nbsp; </DIV>

<DIV>Of course, I hesitate to mentioné&nbsp;my support for Senator =
Schroeder on=20

this list.&nbsp; As I'm a notorious Liberal/Progressive, not to =
mentionénbsp;a=20

died-in-the-wool Democrat, I&nbsp;do fear doing him more harm than=20

good. &nbsp; &nbsp;Gary Schroeder, however, is no lefty;&nbsp;there are =
a raft=20

of issues on which we are not in accord, but I have found him to be =
responsive=20

to his constituents, genuinely concerned about the people of this =
county, and,=20

most important of all, an honest broker.&nbsp; </DIV>

<DIV>énbsp; </DIV>

<DIV>Gregg Vance might be responsive and he might be concerned, but
his=20

campaign's nasty, dishonest, underhanded push-polling&nbsp;is strong =
evidence=20

that he is unfit for public office.&nbsp; I've taken the time to =
familiarize=20

myself withé&nbsp;Mr. Vance's stances on a host of issues, and I firmly =
believe=20

that he would be an unmitigatedé&nbsp;disaster for Latah =
County. &nbsp; &nbsp; On=20

May 25th, I hope that Democrats and Republicans alike&nbsp;will
unite&énbsp; to=20

ensure thaté&nbsp;the best man continues to represent us in =
Boise, &énbsp;and=20

Gregg Vanceénbsp;continues to enjoy the&énbsp;quieténbsp;life in
Deary.</DIV>

ll

ll

<DIV>&nbsp; </DIV>

<DIV>Joan Opyr/Auntie Establishment</DIV>
<DIV>&nbsp; </DIV>

<DIV>é&nbsp;</DIV><BR clear=3Dall>

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